          Case 1:19-mi-00071-WEJ Document 13 Filed 08/30/19 Page 1 of 11



                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA

    LabMD, Inc., Petitioner,
                                           No. 1:19-MI-00071
          v.
    Federal Trade Commission,
          Respondent.

                         FTC’S SUPPLEMENTAL BRIEF
                               Introduction & Summary

         As the FTC explained in its opposition, LabMD’s petition for attorney’s fees

should be rejected for three principal reasons. First, LabMD is not entitled to any

fee award because the FTC’s position was substantially justified throughout the

administrative enforcement action and also in the petition for review before the

Eleventh Circuit.1 FTC Op. 17-20. The Commission’s position was likewise justi-

fied on the enforceability of its cease and desist order—the only issue that LabMD

prevailed on in the Eleventh Circuit. Id. Second, the petition should be rejected for

the independent reason that LabMD’s narrow success does not entitle it to any fees

for work performed in (1) the underlying administrative proceeding, or (2) LabMD’s

collateral attacks on that proceeding, all of which were unsuccessful.2 Id. at 19-24.


1
  LabMD’s claim (Reply Br. 4) that the FTC’s case was based on “fraudulent
claims” and “false testimony” is fiction. See FTC Op. 6 n.2.
2
  LabMD’s claim that it achieved “total success as a respondent” (Reply Br. 7-10)
ignores that it failed to overturn the Commission’s finding that the company had

                                          -1-
         Case 1:19-mi-00071-WEJ Document 13 Filed 08/30/19 Page 2 of 11



Third, LabMD’s petition is unreasonable because it fails to include sufficient detail

or segregate work on the one successful issue, and also includes excessive, redun-

dant, and unnecessary hours. Id. at 29-30.

        LabMD initially attempted to support its claim for fees for the work of two

law firms (Kilpatrick Stockton and Dinsmore & Shohl) with copies of bills that

were so heavily redacted that it was impossible to determine the work that was per-

formed. See FTC Op. 28-29, 30-31. With the Court’s permission, LabMD has now

supplemented its petition with unredacted copies of those bills. The unredacted

bills confirm that LabMD is not entitled to any fee award for the work of either

firm.

        Kilpatrick’s bills show that none of its fees were incurred in this case. It did

not work on LabMD’s petition for review in the Eleventh Circuit, nor even in the

administrative proceeding before the FTC. Instead, its bills reflect work on

LabMD’s unsuccessful attempt to halt the administrative proceeding by suing in

the Northern District of Georgia.

        Dinsmore’s bills largely describe its work in the administrative proceeding

before the FTC. As explained, none of that work is properly the subject of a fee

award because LabMD failed to overturn the FTC’s decision that it had violated

the FTC Act and the FTC’s position was substantially justified. LabMD’s claim

violated the FTC Act. See FTC Op. 8; LabMD, Inc. v. FTC, 891 F.3d 1286, 1296-
1297 (11th Cir. 2018).

                                           -2-
        Case 1:19-mi-00071-WEJ Document 13 Filed 08/30/19 Page 3 of 11



should also be rejected because Dinsmore’s bills include work on other matters, are

not specific enough to identify which matter they relate to, and include patently un-

reasonable attorney’s fees and costs.

                                      Argument

       With or without its supplementation of the record, LabMD is not entitled to

any fee award in this case because the FTC’s position throughout the case was sub-

stantially justified. FTC Op. 17-20. Accordingly, the Court can dispense with

LabMD’s petition without slogging through LabMD’s attorney statements. But

even if LabMD were entitled to an award in this case, it would not be entitled to

any award based its new submission because the submitted bills do not reflect any

work on this appeal, much less on LabMD’s one narrow success—the enforceabil-

ity of the FTC’s remedial order. Instead, the bills reflect fees and costs incurred in

the underlying administrative action, which LabMD lost; in LabMD’s multiple

failed collateral attacks on the FTC; and in matters unrelated to FTC at all. See id.

at 19-24. What’s more, many of the claimed fees and costs are unreasonable on

their face.

                                Kilpatrick Stockton

       The unredacted versions of Kilpatrick Stockton’s bills confirm it did not

work on the Eleventh Circuit appeal in this case. As explained in the FTC’s oppo-

sition to LabMD’s petition, EAJA does not authorize any award for fees incurred



                                         -3-
       Case 1:19-mi-00071-WEJ Document 13 Filed 08/30/19 Page 4 of 11



in other matters. FTC Br. 23-24; 28 U.S.C. 2412(d)(1)(A); Lundin v. Mecham, 980

F.2d 1450, 1461 (D.C. Cir. 1992) (“[T]he statute expressly forbids the award of

fees in actions over which the court lacks jurisdiction.”).

      Kilpatrick represented LabMD in a collateral attack on the FTC’s adminis-

trative proceeding in the Northern District of Georgia, LabMD, Inc. v. FTC, No.

1:14-cv-810 (N.D. Ga.). See Veccione Decl., part 2 at 81-82. Nearly all of the

$155,000 in fees and costs that LabMD claims for Kilpatrick’s work were incurred

in that case, not this one. Even if EAJA did not outright forbid an award for that

work, an award would be inappropriate because LabMD did not prevail in any as-

pect of the case—the district court granted the FTC’s motion to dismiss and the

Eleventh Circuit affirmed. LabMD, Inc. v. FTC, 776 F.3d 1275 (11th Cir. 2015).

LabMD sought to stay the FTC’s administrative proceeding while that appeal was

pending, but the Court denied the stay. Order, LabMD, Inc. v. FTC, No. 14-12144

(11th Cir. May 19, 2014). The Court likewise denied LabMD’s petition for rehear-

ing en banc.

      Some of the work reflected on Kilpatrick’s bills involves matters that have

nothing to do with the FTC. For example, several entries (totaling $1,960 in fees)

were incurred in the “Butschek matter,” which appears to be an employment dis-




                                         -4-
        Case 1:19-mi-00071-WEJ Document 13 Filed 08/30/19 Page 5 of 11



pute. See Ex. B pp. 3, 4, 5, 6, 10, 13 (timekeepers RDA and RDH) 3. Other entries

(totaling $4,864 in fees) refer to a “potential qui tam relator case.” Id. at 27-28.

EAJA does not authorize any fee award for work for those other matters.

                                 Dinsmore & Shohl

      None of the time billed by Dinsmore & Shohl was spent litigating LabMD’s

Eleventh Circuit appeal or the one winning issue in that appeal. Dinsmore repre-

sented LabMD in the administrative proceeding before the FTC and LabMD’s col-

lateral attacks on that proceeding. It did not represent LabMD in the appeal.

LabMD lost the administrative proceeding: the FTC found that the company had

violated the FTC Act and the Eleventh Circuit did not disturb that finding. 4 The

“limited success” LabMD achieved on appeal—vacating the Commission’s reme-

dial order—does not justify a fee award for Dinsmore’s unsuccessful work in the

administrative proceeding, which would improperly be based “on the litigation as a

whole.” Villano v. City of Boynton Beach, 254 F.3d 1302, 1306 (11th Cir. 2001)

(quoting Hensley v. Eckerhart, 461 U.S. 424, 436 (1983)). The remaining work on

collateral (and unrelated) matters does not justify any award for the reasons ex-

plained above and in the FTC’s opposition.

3
  Citations to LabMD’s unredacted bills refer to the pdf page numbers in the ver-
sion electronically filed with the Court.
4
  LabMD’s insistence that the court of appeals “vacated the entire Final Order”
(Reply Br. 9 n.5) is misleading. The Commission simultaneously issued both an
Opinion finding that LabMD violated the FTC Act and a Final Order for its reme-
dy. The court of appeals vacated only the latter.

                                          -5-
           Case 1:19-mi-00071-WEJ Document 13 Filed 08/30/19 Page 6 of 11



          LabMD’s claim for fees from Dinsmore should also be rejected because it

includes unnecessary and unrelated work and fails to provide enough detail to de-

termine whether the work performed is reasonable. As the party requesting fees,

LabMD must include sufficient detail in its application, segregate unproductive

hours and time that was not directed toward its successful claim, and exercise bill-

ing judgement to eliminate excessive fees. See Hensley, 461 U.S. at 435, 437; Nat’l

Ass’n of Concerned Veterans v. Sec’y of Def., 675 F.2d 1319, 1327 (D.C. Cir.

1982); Gay Officers Action League v. Puerto Rico, 247 F.3d 288, 296 (1st Cir.

2001).5 LabMD failed to do so. For example, the bills include unreasonable charg-

es for:

             • Attorney travel time (Ex. A pp. 11, 12, 19, 20, 29, 33, 34, 41, 42, 48,
               54, 61, 78, 86, 116, 118, 119);

             • Press and media work (id. at 10, 12, 143, 151) (entries include
               “press,” “media strategy,” “media support,” and work on a “WSJ
               op=ed [sic]”); and

             • Unrelated matters such as “SBA matter” (id. at 148), LabMD’s legis-
               lative efforts (id. at 20, 62, 63, 81, 85, 86, 92, 106, 115, 126) (entries
               include “OGR briefing,” “OGR hearing,” “oversight presentation,”
               and “oversight committee”); “Pennsylvania defamation case” (id. at
               92, 115); and the Northern District of Georgia case (id. at 115).




5
 LabMD’s argument that the FTC failed to challenge specific time entries (Reply
Br. 12) ignores that “the fee applicant bears the burden” of establishing its entitle-
ment to fees with specificity. Hensley, 461 U.S. at 437.

                                            -6-
       Case 1:19-mi-00071-WEJ Document 13 Filed 08/30/19 Page 7 of 11



      Although Dinsmore represented LabMD in multiple other matters in addi-

tion to the administrative proceeding, 6 a large number of its time entries—far too

many to list—do not include the context necessary identify which matter they re-

late to, making it impossible to determine whether the work was reasonable. Some

entries that clearly relate to court actions rather than the administrative proceedings

include references to “the court’s . . . bench orders” and “submissions to the Court”

(id. at 98), a “[h]earing before Tax Court” (id. at 87), a “joinder motion” (id. at 97),

“local counsel in Georgia” (id. at 68, 76), and a preliminary injunction hearing (id.

at 58). See also id. at 31, 78, 85, 100, 110, 119 (ambiguous references to various

“court” proceedings). Scores of other entries refer to hearings, motions, deposi-

tions, and other events that could have occurred in the administrative enforcement

action or in a court proceeding without saying which it was. Compounding this

problem, the bills include a great many entries for internal meetings and communi-

cations among the lawyers representing LabMD in its various ongoing matters

without any effort to apportion time among them. E.g., id. at 5, 18-24, 30, 40, 45,

46, 53, 63, 67, 68, 75-78, 95, 97, 110, 125, 148; see also id. at 12, 47, 53, 58, 63,

64 (entries related to division of labor among firms).

6
  Dinsmore attorneys appeared in LabMD’s unsuccessful 2013 petition for review
(No. 13-1527, 11th Cir.); its unsuccessful suit against the Commission and its
Commissioners in D.C. (No. 1:13-cv-1787, D.D.C.); and its unsuccessful appeal
from the dismissal of its suit against the FTC in the Northern District of Georgia
(No. 14-12144, 11th Cir.).


                                          -7-
        Case 1:19-mi-00071-WEJ Document 13 Filed 08/30/19 Page 8 of 11



       Moreover, many entries are so generic that it is impossible to determine

what work was performed at all, such as “attention to client matters,” “client com-

munications,” “admin issues,” and similar language that does not specify what

work was performed. E.g., id. at 4, 18, 12, 63, 64, 67, 75, 134, 142-143, 148, 151-

152, 156.

       Furthermore, Dinsmore’s bills include entries for internal matters unrelated

to the merits of the case, such as LabMD’s coverage “dispute with its insurer” (id.

at 117-121); issues related to LabMD changing counsel (id. at 118 (“dismissal of

COA and transitioning of case”), 97-98 (“transition agreement,” “transfer agree-

ment,” “joint defense agreement”)); representation agreements (e.g., id. at 19, 21,

24, 29, 30, 32, 40, 46), including between Cause of Action and various individuals

(id. at 125-126), and other communications about representation issues (id. at 75,

80). They also include unreasonable overhead charges for arranging a conference

room (id. at 42), setting up and training on technology (id. at 19, 44), processing

documents (id. at 10-13, 18-24, 29-35, 40-48, 52, 53, 55-59, 61-64, 68-71, 76-81,

92, 110, 115-117, 125), and copying a “disc containing (13) music tracks” (id. at

44).

       In short, Dinsmore’s bills include unreasonable and unrelated charges, insuf-

ficiently describe the work claimed, and do not “enable [the] court to identify dis-

tinct claims.” Hensley, 461 U.S. at 437. None of the time above could justify an



                                         -8-
         Case 1:19-mi-00071-WEJ Document 13 Filed 08/30/19 Page 9 of 11



award of attorney’s fees even if LabMD were otherwise entitled to an award,

which, as explained, it is not.

      Dinsmore’s bills also reflect thousands of dollars in unreasonable costs.

Those charges include airline flights (Ex. A pp. 16, 27, 38, 50), hotel expenses (id.

at 16, 27, 38, 50, 83, 123), meals (id. at 16, 27, 38, 50, 83, 90, 123, 150); a rental

car (id. at 16), unspecified “other” travel expenses (id. at 28, 39, 50, 83, 90), and

unspecified “miscellaneous” expenses (id. at 27, 38). They also include unreasona-

ble or unnecessary overhead charges, such as charges for audio conferences (id. at

3, 16, 27, 50, 66, 114, 123, 147); photocopies (id. at 8, 16, 27, 66, 73, 83, 104, 109,

114, 123, 132, 141, 147); Fedex (id. at 8, 38, 16, 27, 132); messengers (id. at 27,

38, 50, 66, 73, 83, 90); postage (id. at 90); “online document retrieval services” (id.

at 90); expert fees (50, 83); and a filing fee unrelated to this case (id. at 8). In addi-

tion to being unreasonable on their face, the vast majority of the claimed costs lack

the context to determine whether they were incurred in the administrative action, in

one of LabMD’s collateral attacks against the FTC, or in some other matter. Like

its claim for fees, LabMD’s claim for Dinsmore’s costs does not support any

award.

                                      Conclusion

      LabMD’s petition for attorney’s fees and costs should be denied.




                                           -9-
Case 1:19-mi-00071-WEJ Document 13 Filed 08/30/19 Page 10 of 11



                                      Respectfully submitted,

                                      s/Theodore (Jack) Metzler
                                      Alden F. Abbott
                                       General Counsel
                                      Joel Marcus
                                       Deputy General Counsel
                                      Theodore (Jack) Metzler
                                       Attorney
                                      Federal Trade Commission
                                      600 Pennsylvania Ave. N.W.
                                      Washington, D.C. 20580
                                      (202) 326-3502
                                      (202) 326-2477 (fax)

                                      Counsel for the
                                      Federal Trade Commission




                             - 10 -
      Case 1:19-mi-00071-WEJ Document 13 Filed 08/30/19 Page 11 of 11




                         CERTIFICATE OF SERVICE

      I hereby certify that on August 30, 2019 I filed the foregoing with the

Court’s CM-ECF system, and that I caused the foregoing to be served through the

CM-ECF system on counsel of record for LabMD, who are registered ECF users.

                                      /s/ Theodore (Jack) Metzler
                                      Theodore (Jack) Metzler
                                      Attorney
                                      Office of the General Counsel
                                      Federal Trade Commission
                                      600 Pennsylvania Ave. N.W.
                                      Washington, D.C. 20580
